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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN MILLER,                                           CIVIL ACTION
                                Petitioner,

                 v.                                    NO. 12-0742

THE DISTRICT ATTORNEY FOR THE
COUNTY OF PHILADELPHIA, et al.,
                  Respondents.


                                               ORDER

       AND NOW, this       j soday o~ , 2019, upon careful and independent consideration
of the counseled Second Petition   for~: of~abeas Corpus, the counseled Amended Petition, the
Response, and the Reply thereto, and after review of the Report and Recommendation ofUnited
States Magistrate Judge Henry S. Perkin, IT IS HEREBY ORDERED that:


        1.       the Report and Recommendation is APPROVED and ADOPTED;

       2.        the Petition for Writ of Habeas Corpus is CONDITIONALLY GRANTED; that
Petitioner is discharged from all custody resulting from his convictions and sentences in the
Philadelphia Court of Common Pleas in Criminal No. CP-51-CR-1010301-1997 UNLESS, within
180 days from the date of the final determination ofthis matter, the Commonwealth ofPennsylvania
retries the charges against Petitioner; and


        3.       a certificate of appealability is GRANTED as to the issue of Brady violations and an
inadequate remedy under state law.


                                                       BY THE COURT:


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                                                       ANITA B. BRODY, J.
